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12 Tracy Choubmesser
13
                       IN THE UNITED STATES DISTRICT COURT
14
                              FOR THE DISTRICT OF ARIZONA
15
16 Tracy Choubmesser,                             Case No.: 2:17-cv-02094-SPL
17
                    Plaintiff,
18
19        vs.                                     NOTICE OF SETTLEMENT

20 Bureau of Medical Economics, Inc.,
21
                 Defendant.
22
23         NOTICE IS HEREBY GIVEN that Plaintiff and Defendant, Bureau of Medical
24 Economics, Inc., in the above-captioned case have reached a settlement. The parties
25
   anticipate filing a Stipulation of Dismissal with Prejudice as to Defendant Bureau of
26
27 Medical Economics, Inc., ONLY, pursuant to Fed. R. Civ. P. 41(a) within 60 days.
28
                                              1
        Case 2:17-cv-02094-SPL Document 26 Filed 12/04/17 Page 2 of 2



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 2
 3   DATED: December 4, 2017                    KENT LAW OFFICES
 4
 5
                                          By: /s/ Trinette G. Kent
 6                                        Trinette G. Kent
 7                                        Attorneys for Plaintiff,
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